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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,                 :      Civil No. 1:16-CV-2145
                                              :
      Plaintiff                               :      (Chief Judge Conner)
                                              :
v.                                            :      (Magistrate Judge Carlson)
                                              :
THE MILTON HERSHEY SCHOOL                     :
AND SCHOOL TRUST, et al.,                     :
                                              :
      Defendants                              :

                                      ORDER

      AND NOW, this 12th day of April, 2018, following a telephone conference

held this day with the parties to address a dispute that has arisen with respect to the

Defendants’ compliance with supplemental interrogatory questions seeking

additional numeric information relating to the Plaintiffs’ theory that the Defendants

had a policy of “discarding” students from the School after multiple admissions to

an outside mental health facility; and in accordance with the instructions provided

to the parties during this call, IT IS HEREBY ORDERED THAT counsel for the

Defendants are to meet and confer with their clients to determine whether the

Defendants are willing to disclose the number of students that were hospitalized

for mental health treatment on more than two occasions between 2011 and 2013,

from among the two groups of students that were previously identified as either
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having been terminated or placed on a leave of absence. In the event that the

Defendants conclude that they are not able to reveal this number to the Plantiffs

due confidentiality concerns relating to the desire to protect the identities and

protected health information of minor nonparties, the Defendants shall produce the

relevant information to the undersigned for in camera review on or before

Monday, April 23, 2018 for the Court to determine whether revealing this number

will jeopardize nonparties’ confidential information. Should any additional

discovery disputes arise, the parties shall bring them to the undersigned’s attention

for prompt resolution by contacting Courtroom Deputy Kevin Neary at 717-221-

3924 or by email at kevin_neary@pamd.uscourts.gov.



                                       /s/ Martin C. Carlson
                                       Magistrate Judge Carlson
                                       United States Magistrate Judge




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